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               OCTOBER 29, 2021
                ICE JUVENILE
             COORDINATOR REPORT
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                              UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA


 JENNY LISETTE FLORES, et. al.,                 )               Case No.: CV 85-4544-DMG
                                                )
        Plaintiffs,                             )
                                                )
 v.                                             )
                                                )
 MERRICK GARLAND,                               )
 Attorney General of the United States, et al., )
                                                )
                                                )
        Defendants.                             )
                                                )


                        OCTOBER 2021 INTERIM REPORT
                OF JUVENILE COORDINATOR DEANE DOUGHERTY
            SUBMITTED BY IMMIGRATION AND CUSTOMS ENFORCEMENT

          As required by the Court in its order issued on September 17, 2021, U.S. Immigration and

 Customs Enforcement (ICE) Juvenile Coordinator Deane Dougherty is submitting the following

 interim report. Due to the constantly evolving nature of the COVID-19 crisis, and the frequency

 of custody and discharge determinations, the information in this report is current and accurate as

 of the time of signature, or for the reported data, as of the date or time noted in conjunction with

 the information provided.

     I. Census of Minors at ICE Facilities1 (§§ 2(i)-(ii) and                                          September
        17 Order)

          As stated in the prior Juvenile Coordinator Reports, ICE revised its family detention

 posture to allow for a broader repurposing of the physical facilities to better meet operational

 needs. As of February 26, 2021, all families had been released from Berks and there have been no



 1
  There are three types of ICE facilities that house minors: Family Staging Centers, hotels, and secure juvenile
 detention facilities.

                                                           1
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 families housed there since. Currently, the South Texas Family Staging Center and Karnes County

 Family Staging Center are being used as short-term residential/staging centers for family units,

 with the goal of releasing families within 72 hours. ICE is using hotels to temporarily house, and

 process for release, Class Members and families within the same 72-hour period as in the Family

 Staging Centers (FSCs), which were described in my prior reports. Release within the 72-hour

 window, however, is contingent upon

 sponsor. COVID-19 positive cases also impact

 72 hours. Families who test positive for COVID-19 are generally held for the requisite 10-day

 quarantine period. ICE Enforcement and Removal Operations (ERO) Pandemic Response

 Requirements (PRR), October 19, 2021, page 20.2

           On October 22, 2021, there were 126 Class Members at the ICE FSCs, 198 in hotels, and

 one (1) in secure juvenile detention, for a total of 325 Class Members in ICE custody. The figures

 below breakdown these Class Members by age and country of origin.




 2
     https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFacilities.pdf

                                                        2
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         ICE is making continuous efforts to release Class Members without unnecessary delay in

 accordance with paragraphs 14 and 18 of the Flores Settlement Agreement (FSA). The speed by

 which Class Members and their accompanying parent(s) or legal guardian(s) are being processed

 and released from ICE custody has increased significantly. On October 22, 2021, there were no

 Class Members who had been detained at an ICE facility twenty (20) days or more. The chart

 below represents the number of Class Members in ICE facilities as of October 22, 2021, as well

 as the average length of stay (ALOS) for the facilities.3




 3
  ALOS (calculated in days) for minors in custody is determined by a subtraction between the date the minor is in
 custody and their book-in date to the ICE facility. ALOS (calculated in days) for minors released between August
 26, 2021, and October 21                                                                     -out date from ICE
 custody and their book-in date to the ICE facility.

                                                         3
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    II. Hotels

        A. Update on the Number, Locations, and Safe and Sanitary Conditions at the
           Hotels (§ 2(b)(              September 17 Order)

        Due to an unprecedented increase in irregular migrant flows to the southwest border,

 including greater numbers of family units, existing infrastructure simply cannot hold this number

 of individuals in a way that fully complies with the FSA and other requirements. It is because of

 these exigent circumstances that the Government secured the use of hotels to meet the critical

 mission requirements of housing, feeding, testing, transporting, and providing medical attention to

 these thousands of families in the most humane, sanitary and comfortable manner possible. These

 hotel facilities are located along or near the southwest border. In addition to the need for hotel

 facilities to manage the influx, expanded capacity is necessary to properly implement COVID-19

 mitigation measures, including reductions in housing capacity and onsite personnel to process

 cases, which must be implemented in a way to promote social distancing.

        Below is a list of hotels available to temporarily house and process families, including

 location and operating status:




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    III.                                              -19 Guidances

           A. Update on ICE Policies Regarding the Use of Hotels or FSCs, Including Policies
              and Procedures to Address COVID-                              September 17
              Order)

           The FSCs and hotels that house Class Members take all reasonable measures to prevent

 and slow the spread of COVID-19 within the facilities to protect families, staff, and the public.

 These ICE facilities continue to follow the COVID-19 mitigation practices set forth in the ERO

 PRR for social distancing, shift staggering, sick leave policies, vaccination access, and other

 measures to ensure continuity of operations. The ERO PRR was last updated on October 19, 2021.

           Other than the new PRR, there are no new facts or procedures to report since the last

 Juvenile Coordinator Report. The information in the last Juvenile Coordinator Report accurately

 reflects current practices.

           B. Report of ICE Facilities Holding Minors and Number of COVID-19 Cases (§
                                 September 17 Order)

           Pursuant to section 2(iii             September 17, 2021, Order, and section 4(b)(iii)

 of this Court April 24, 2020, Order, the following charts describe the number of positive

 COVID-19 cases at ICE facilities as of October 22, 2021.




                                                 6
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                                                                            , the Class Members

 housed in a facility in which either a detainee or staff member have tested positive for COVID-19

 have not been released or transferred to non-congregate settings because they are either (1) in

 quarantine based on CDC guidance                     as a result of testing positive, or having an

 accompanying family member who tested positive, for COVID-19; (2) will be released as a family

 unit upon testing negative for COVID-19 and coordinating travel arrangements with their sponsor;

 or (3) was pending placement with ORR and has since been transferred.


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     IV.                                                              (§ 2(               September
           17 Order)

                                                                              Order, relating to Class



 Dilley FSC that are described below. The information in the prior Juvenile Coordinator Report

 accurately reflects current practices at the other ICE facilities.

           Access to counsel at Karnes County FSC is summarized as follows. Residents are served

 with orientation packets that contain the Executive Office for Immigration Review (EOIR) Pro

 Bono Services flyer, a Know Your Rights flyer, and l                                                -

 up sheets. These items are also posted throughout the housing complexes. Residents are also shown

 a Know Your Rights video and a local legal service provider orientation video during intake, and

 both are available to view again on television screens throughout the facility multiple times a day

 in English and Spanish. Facility orientation occurs daily at which residents are given an additional

 opportunity to ask questions and sign-up to meet with legal service providers. Sign-up sheets are

 also posted in the housing complexes for residents to communicate with legal service providers if

 so interested. Due to operational adjustments made during the COVID-19 pandemic, group

 presentations are conducted daily using video teleconferencing technology via the WebEx system.

 Legal service providers have been given the opportunity to conduct additional presentations to

 accommodate the various languages of residents within the facility. Other local legal service

 providers may request individual meetings by telephone/video or in-

 Family Residential Standards.

           Access to counsel at Dilley FSC is summarized as follows. Residents are served with

 orientation packets that contain the EOIR Pro Bono Services flyer, a Know Your Rights flyer, and

                                                 -up sheets. These items are also posted throughout

                                                    8
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